        Case 2:24-mj-07256-DUTY              Document 11           Filed 12/13/24     Page 1 of 1 Page ID #:84
Name & Address:




                                         UNITED STATES DISTRICT COURT
                                        CENTRAL DISTRICT OF CALIFORNIA
 UNITED STATES OF AMERICA,                                       CASE NUMBER


                                                                                  2:24-mj-07256-DUTY
                                                    PLAINTIFF
                              v.
Yinpiao Zhou                                                         NOTIFICATION RE: APPLICATION FOR BAIL
                                                                     REVIEW OR RECONSIDERATION OF ORDER
                                                                             SETTING CONDITIONS OF
                                                                            RELEASE OR DETENTION,
                                                 DEFENDANT.                      (18 U.S.C. §3142)

PLEASE TAKE NOTICE that the Request for Hearing on the Application for Review/Reconsideration of Order Setting
Conditions of Release/Detention:

✔ is approved. The matter is set on calendar for hearing before:
G

✔ District Judge Hernan D. Vera
G

G Magistrate Judge

on Monday December 16, 2024                               at 11:00                  ✔a.m. G p.m.
                                                                                    G

in courtroom 5B                                                                                   .

G is not approved.

G Other:

                                 ✔ is not required. Language
    An interpreter is G required G
    Defendant is G ✔in custody G not in custody.

                                                 Clerk, U. S. District Court



12/13/2024                               G. Garcia                                        HDV_Chambers@cacd.uscourts.gov
Date                                     Deputy Clerk                                     Contact Phone Number

Notice is electronically made upon transmission of the Notice of Electronic Filing to the following agencies:
cc: G Probation G Interpreter’s Office G ✔ PSA.




             NOTIFICATION RE: APPLICATION FOR BAIL REVIEW OR RECONSIDERATION OF ORDER SETTING CONDITIONS OF
                                           RELEASE OR DETENTION, (18 U.S.C. §3142)
CR-88A (10/09)
